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                     Exhibit B
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   From:                              Wynne, Maggie (HHS/IOS)
   Sent:                              Saturday, March 04, 2017 1:47 PM
   To:                                Leggitt, Lance (HHS/IOS); Skrzycki, Kristin (HHS/IOS); Stannard, Paula (HHS/IOS);
                                                            ; Murphy, Ryan (HHS/IOS)
   Cc:                                Bowman, Matthew (HHS/IOS); Flick, Heather (HHS/IOS); Lloyd, Scott E. (ACF)
   Subject:                           FW: Heightened Medical Procedures Guidance
   Attachments:                       medical_services_requiring_heightened_orr_involvement.pdf

   Importance:                        High



   All,

   Here is a directive that the career Acting Director of the ACF Office of Refugee Resettlement (ORR), Ken Tota, sent last
   night to all ORR staff.

   I will also send you in a separate email a similar communication to all ORR grantees caring for unaccompanied alien
   children (UACs or UCs).




                                the last few days have revealed that ORR-funded grantees have taken action in violation of
   the attached policy to procure abortions for minors in the ORR Director's care and custody without his authorization.

   Maggie


   From:
   Sent: Friday, March 03, 2017 11:24 PM
   To: Wynne, Maggie (HHS/105); Barlow, Amanda (ACF); Tota, Kenneth (ACF); White, Jonathan (ACF); Lloyd, Scott E.
   (ACF)
   Subject: FW: Heightened Medical Procedures Guidance
   Importance: High

   Good evening,

   For your records, below is the email sent to ORR staff.

   Kindly,



   From: ORR Director (ACF)
   Sent: Friday, March 03, 2017 11:17 PM
   Subject: Heightened Medical Procedures Guidance
   Importance: High

   Dear Colleagues,




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   I am writing to reinforce the importance of ORR policies and procedures related to Heightened Medical
   Procedures, including "significant medical or surgical procedures, abortions, and services that may threaten the
   life of a UAC."

   Per the policy, "Grantees are prohibited from taking any actions in these cases without direction and approval
   from ORR." Approval for such procedures would be provided in the form of a signed authorization from the
   Director of ORR. To restate and reinforce the existing policy, grantees may not perform Heightened Medical
   Procedures without written authorization from the ORR Director, except in emergency medical situations (as
   described in Emergency Medical Services, 3.05). Grantees should not conduct procedures, or take any steps that
   facilitate future procedures such as scheduling appointments, transportation, or other arrangements without
   signed written authorization from the ORR Director. Note that the requirement for written authorization by the
   ORR Director applies whether the procedure will be paid for with Federal funds or by other means.

   In your role, please ensure close adherence and understanding of the policy. It is important that your
   discussions or correspondence in no way confer or imply approval. Approval can only be authorized by the
   ORR Director in writing.

   The policy on Heightened Medical Procedures is attached. If there are questions or concerns, please do not
   hesitate to write.

   Sincerely,
   Ken Tota
   Acting Director




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   Thanks




   From:
   Sent: Wednesday, March 22, 2017 4:47 PM
   To:
   Subject: RE: ORR Guidance for Pregnant UC


            ,

   Hope this email finds you well. I have a follow up question for you. In your email
   below, you state we cannot take a client to get a judicial bypass on a termination
   of pregnancy unless the ORR Director approves us to do so first. Isn't that contrary
   to state law? My understanding is that the judicial bypass was created specifically
   so that the young lady does not need approval from her guardian (in our case the
   Director of ORR) to move forward with a term of pregnancy. Has this policy been
   vetted by your legal department? I anticipate there would be legal challenges to
   this policy by advocacy groups that have historically represented our minors in
   these cases. Can you give me any feedback on this issue? Thanks.




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   From:
   Sent: Friday, March 10, 2017 2:38 PM
   To:




   Cc:




                                 White, Jonathan (ACF) <Jonathan.White@ACF.hhs.gov>; Sualog, Jallyn (ACF)
   <Jallyn.Sualog@ACF.hhs.gov>; Tota, Kenneth (ACF) <kenneth.tota@acf.hhs.gov>; De LA Cruz, James (ACF)
   <James.DeLACruz@acf.hhs.gov>;

   Subject: ORR Guidance for Pregnant UC
   Importance: High

   Good afternoon! Effective immediately, ORR is requiring grantees to notify ORR through their assigned Federal Field
   Staff immediately of any request or interest on any girl's part in terminating her pregnancy. A response from ORR
   Director would be required before taking any next steps (i.e., scheduling appointments, pursuing a judicial bypass, or
   any other facilitative step).



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   Per the policy, "Grantees are prohibited from taking any actions in these cases without direction and approval from
   ORR." Approval for such procedures would be provided in the form of a signed authorization from the Director of
   ORR. To restate and reinforce the existing policy, grantees may not perform Heightened Medical Procedures without
   written authorization from the ORR Director, except in emergency medical situations (as described in Emergency
   Medical Services). Grantees should not conduct procedures, or take any steps that facilitate future appointments
   without signed written authorization from the ORR Director. Note that the requirement for written authorization by the
   ORR Director applies whether the procedure will be paid for with Federal funds or by other means.

   Please ensure close adherence and understanding of the policy. Approval for such procedures can only be authorized by
   the ORR Director in writing. Failure to adhere to this policy will be a significant issue of non-compliance.

   If there are questions or concerns, please do not hesitate to contact your assigned Federal Field Staff for clarification.

   Thank you!




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